                    Case 2:14-cr-00330-TLN Document 57 Filed 11/18/15 Page 1 of 4



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 5 Attorneys for Guo Ma

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 7

 8                                     IN THE UNITED STATES DISTRICT COURT

 9                                         EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                                      CASE NO. 2:14 –CR-00330-GEB
12                                          Plaintiff,              STIPULATION REGARDING
                                                                    EXCLUDABLE TIME PERIODS
13   v.                                                             UNDER SPEEDY TRIAL ACT;
                                                                    [PROPOSED] FINDINGS AND
14   GUO MA,                                                        ORDER
15                                          Defendant.
16

17
               Defendant Guo Ma, by and through Linda M. Parisi, his counsel of record, and plaintiff, by
18
     and through its counsel, Christiaan Highsmith, hereby stipulate as follows:
19
               1.         By previous order, this matter was set for sentencing on November 20, 2015.
20
               2.        By this stipulation, the defendant now moves to continue the sentencing hearing until
21
     February 5, 2016, at 9:00 a.m. and to exclude time between November 20, 2015 and February 5,
22
     2016 and under Local Code T4. The United States does not oppose this request.
23
               3.        The parties agree and stipulate, and request that the Court find the following:
24
               a.        Counsel for Mr. Ma need additional time to research and work on Mr. Ma’s case prior
25
     to sentencing.
26

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          Stipulation and [Proposed] Order for Continuance of
29        Status Hearing and for Exclusion of Time

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                 Case 2:14-cr-00330-TLN Document 57 Filed 11/18/15 Page 2 of 4



 1          c.        Counsel for defendant Mr. Ma believe that failure to grant the above-requested

 2 continuance would deny them the reasonable time necessary for effective preparation, taking into

 3 account the exercise of due diligence.

 4          d.        The United States Attorney agrees to the continuance.

 5          e.        All counsel agrees to the continuance.

 6          f.        For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.§ 3161, et

 7 seq., within which trial must commence, the time period of November 20, 2015 and February 5,

 8 2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 316l(h)(7)(A), B(iv) [Local CodeT4]
 9 because it results from a continuance granted by the Court at defendant's request on the basis of the

10 Court's finding that the ends of justice served by taking such action outweigh the best interest of the

11 public and the defendant in a speedy trial.

12          4.        Nothing in this stipulation and order shall preclude a finding that other provisions of

13 the Speedy Trial Act dictate that additional time periods are excludable from the period within which

14 a trial must commence.

15 Dated: November 16, 2015

16                                                               Respectfully Submitted,

17                                                               /s/ Linda M. Parisi by e-mail authorization
                                                                 ______________________________________
18
                                                                 Linda M. Parisi
19                                                               Attorney for Guo Ma

20

21 Dated: November 16, 2015                                      BENJAMIN B. WAGNER
                                                                 United States Attorney
22

23                                                               /s/ Linda M. Parisi by e-mail authorization
                                                                 _______________________________________
24                                                               Christiaan Highsmith, Assistant U.S. Attorney
                                                                 Attorney for Plaintiff
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       Stipulation and [Proposed] Order for Continuance of
29     Status Hearing and for Exclusion of Time

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                    Case 2:14-cr-00330-TLN Document 57 Filed 11/18/15 Page 3 of 4


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 7                                      IN THE UNITED STATES DISTRICT COURT
 8                                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10    UNITED STATES OF AMERICA
                                                           )           Case No. 2:14 –CR-00330-GEB
11                                     Plaintiff,
                                                                       [PROPOSED] ORDER
12           v.
13
      GUO MA,
14                                 Defendant.
15

16
                  Based on the reasons set forth in the stipulation of the parties filed on November 16, 2015,
17

18 and good cause appearing therefrom, the Court adopts the stipulation of the parties in its entirety. IT

19 IS HEREBY ORDERED that the status conference currently set for November 20, 2015, be vacated
20 and that the sentencing hearing date be set for February 5, 2016, at 9:00 a.m. The Court finds that the

21
     ends of justice to be served by granting a continuance outweigh the best interests of the public and
22
     the defendants in a speedy trial. Accordingly, IT IS HEREBY ORDERED that, for the reasons stated
23
     in the parties’ November 16, 2015 stipulation, the time within which the trial of this matter must be
24
     ///
25
26 ///

27

28                                                               3
           Stipulation and [Proposed] Order for Continuance of
29         Status Hearing and for Exclusion of Time

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                Case 2:14-cr-00330-TLN Document 57 Filed 11/18/15 Page 4 of 4


     commenced under the Speedy Trial Act is excluded during the time period of November 20, 2015,
 1
     through and including February 5, 2016 pursuant to 18 U.S.C. §3161(h)(7)(A) and (B)(iv) and Local
 2

 3 Code 25.

 4 Dated: November 17, 2015

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       Stipulation and [Proposed] Order for Continuance of
29     Status Hearing and for Exclusion of Time

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